Case 2:17-bk-05021-PS   Doc 118 Filed 12/12/17 Entered 12/12/17 08:35:44   Desc
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Case Number: 2:17-bk-05021-PS                                                       CASH SUMMARY
                                                                                  INDIVDUAL DEBTOR
                                                 Post-Petition Debtor-in-Possession Accounts
                                                       DIP Checking                                      TOTAL
                                                     #6794                               #


Balance at Beginning of Period                                 5519.24                                      5519.24

RECEIPTS
Wages - Debtor
Wages - Co-Debtor
Cash Distributions from EBE                                       9000                                           9000
Sale of Assets
Gifts (money)
Bank Interest                                                      0.02                                          0.02
Other: Pmt from Square                                              198                                          198

  TOTAL RECEIPTS                                               9198.02                                      9198.02



 TOTAL DISBURSEMENTS                                         13,691.85                                     13691.85


  Balance at End of Month                                      1025.41                                      1025.41


                                  Dollar Amount of
                                       Current           Interest          Payments            Ending
CREDIT CARD ACTIVITY                  Purchase           Charges             Made              Balance
Name
Acct #
Name
Acct #
Name
Acct #


                              DISBURSEMENTS FOR CALCULATING QUARTERLY FEES:
Total Disbursements - Individual DIP Accounts (from above)                                                13,691.85
Plus: Estate Disbursements Made by Outside Sources (payments from escrow; 2-party check; etc.)
Plus: Payroll Deductions (from page 3)
Plus: Total Business Disbursements for Calculating Quarterly Fees (from page 4)                              614.16
Less: Transfers between debtor-in-possession bank accounts
Total Disbursements for Calculating Quarterly Fees                                                        14,306.01


                                                     Page 2




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                                                             DISBURSEMENT DETAIL
                                                                   (INDIVIDUAL ACCOUNTS)
PLEASE ATTACH COPIES OF BANK STATEMENTS
                                                                                    Month: Nov, 2017
SEE ATTACHED CHECKBOOK REGISTER                                                   Account #          6794

                                                                                Bank Name WELLS FARGO
                                             Cash/Electronic Disbursements
                    Date            Payee                           Purpose                    Amount




                                                    Total Cash/Electronic Disbursements

                                             CHECKS ISSUED
Check Number        Date            Payee                           Purpose                    Amount




Total checks listed on this page
Total checks listed on continuation pages


TOTAL DISBURSEMENTS FOR THE MONTH (include cash/electronic disbursements)


                                                                                               Payroll
Salary / Payroll   Pay Date      Gross Pay        less            Net Pay                 =   Deductions
Debtor
N/A



Co-Debtor




                                                Total Payroll Deductions - report on page 2

                                                 Page 3

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                                                       CONTINUATION SHEET
                                                        (INDIVIDUAL ACCOUNTS)
PLEASE ATTACH COPIES OF BANK STATEMENTS
                                                                Month: See Attached
         SEE ATTACHED                                         Account #

                                                             Bank Name


                                   CHECKS ISSUED
 Check
Number     Date            Payee                   Purpose                  Amount




TOTAL DISBURSEMENTS - THIS PAGE                                                        0

                                      Page 3a
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                                                                               CONTINUATION SHEET
                                                                      (INDIVIDUAL ACCOUNTS)
PLEASE ATTACH COPIES OF BANK STATEMENTS
                                                                               Month:
         SEE ATTACHED                                                       Account #

                                                                           Bank Name


                                            CHECKS ISSUED
 Check
Number     Date               Payee                         Purpose                           Amount




TOTAL DISBURSEMENTS - THIS PAGE

                                               Page 3a




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                                                                                          DBA BUSINESS ENTITY



                            CURRENT MONTH'S RECEIPTS AND DISBURSEMENTS

                                                           BANK ACCOUNTS
Case Number: 2:17-bk-05021-PS                          DIP Checking      l                             Total
New Paradigm                                         #6828


Balance at Beginning of Period                                 188.36                                    188.36

RECEIPTS
 Cash Sales                                                     31.84                                     31.84
 Coaching revenue                                              809.78                                    809.78
 Reimburements                                                  34.78                                     34.78
 Loans and Advances
 Sale of Assets
 Rent received for sharing office                                 260                                          260
 Other: Cash from closed acct


  TOTAL RECEIPTS                                               1136.4                                    1136.4

DISBURSEMENTS
 Business - Ordinary Operations                                614.16                                    614.16
Travel Expense (flight to AZ)
 Pre-Petition Debt
 Transfers to Other DIP Accounts
 Other (attach list)




 Reorganization Expenses:
   Attorney Fees
   Accountant Fees
   Other Professional Fees
   U. S. Trustee Quarterly Fee
   Court Costs


TOTAL DISBURSEMENTS                                            614.16                                    614.16



Balance at End of Month                                            710.6                                  710.6
 *Information provided above should reconcile with balance sheet and income statement amounts


DISBURSEMENTS FOR CALCULATING QUARTERLY FEES:
 Total Disbursements From Above                                                                          614.16
 Less: Transfers to Other DIP Accounts
 Plus: Estate Disbursements Made by Outside Sources (payments from escrow; 2-party check; etc.)
  Disbursements for Calculating Quarterly Fees (carry forward to page 2)                                 614.16

                                                 Page 4
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                                                                                   INCOME STATEMENT
                                                                                               (Accrual Basis)
                                                                                                                            SEE ATTACHED P&L
*Debtor's own form may be substituted if (1) it is prepared in accordance with generally accepted accounting principals,
(2) year-to-date and filing-to-date information is provided, and (3) if reorganization expenses are segregated in the statement.


REVENUES                                                     Current Month                     Year to Date                        Total SInce Filing
  Gross Revenue
  Less: Returns & Discounts
        Net Revenue

COST OF GOODS SOLD
  Material
  Direct Labor
  Direct Overhead (attach detail)
        Total Cost of Goods Sold

        GROSS PROFIT

OPERATING EXPENSES
Officer/Insider Compensation
Selling & Marketing (attach detail)
General & Administrative (attach detail)
Other Expenses (attach detail)
       Total Operating Expenses

Income Before Non-operating Income
and Expense


OTHER INCOME & EXPENSE
  Other Income (attach list)
  Other Expense (attach list)
  Interest Expense
  Depreciation/Depletion
  Amortization
        Net Other Income & Expense


Income Before Reorganization Expense


REORGANIZATION EXPENSES
  Professional Fees
  U.S. Trustee Fees
  Other (attach list)
        Total Reorganization Expenses

 Income Tax

NET PROFIT OR (LOSS)

                                                                         Page 5
        Case 2:17-bk-05021-PS                    Doc 118 Filed 12/12/17 Entered 12/12/17 08:35:44                                       Desc
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                                                  COMPARATIVE BALANCE SHEET
                                                              (Accrual Basis)                                                      SEE ATTACHED

*Debtor's form may be substituted if (1) it is prepared in accordance with generally accepted accounting principals, (2) current
and prior period information is provided, and (3) if pre-petition and post-petition liabilities are segregated.


ASSETS                                              SCHEDULE AMOUNT1                         CURRENT MONTH                         PRIOR MONTH
Unrestricted Cash
Restricted Cash                                   N/A
       Total Cash
Accounts Receivable (net)
Inventory
Notes Receivable
Prepaid Expenses
Other (attach list)
       Total Current Assets
Property, Plant & Equipment
    Less: Accumulated Depreciation
    Net Property, Plant & Equip.
Due From Insider(s)
Other Assets - net (attach list)
Other (attach list)
TOTAL ASSETS
POST-PETITION LIABILITIES                         N/A
Accounts Payable
Taxes Payable
Notes Payable
Professional Fees
Secured Debt
Other (attach list)
       Total Post-Petition Liabilities
PRE-PETITION LIABILITIES                          N/A
Secured Debt
Priority Debt
Unsecured Debt
Other (attach list)
       Total Pre-Petition Liabilities
TOTAL LIABILITIES
EQUITY                                            N/A
Pre-petition Owner's Equity
Post-Petition Cumulative Profit/Loss
Direct Charges to Equity (explain)
        Total Equity
TOTAL LIABILITIES & OWNER'S EQUITY
1
    This column should reflect the information provided in Schedules A, B, C, D, E, and F filed with the Court

                                                                               Page 6

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                                                                                  STATUS OF ASSETS                          N/A
 *Information provided on this page should reconcile with balance sheet amounts
ACOUNTS RECEIVABLE                                            TOTAL               0-30 Days    31-60 Days              60+ Days
Total Accounts Receivable
Less Amount Considered Uncollectible
Net Accounts Receivable


DUE FROM INSIDER
Schedule Amount
Plus: Amount Loaned Since Filing Date
Less: Amount Collected Since Filing Date
Less: Amount Considered Uncollectible
Net Due From Insiders


INVENTORY
Beginning Inventory
Plus: Purchases
Less: Cost of Goods Sold
Ending Inventory

                 Date Last Inventory was taken:

                                                                                                                       CURRENT
FIXED ASSETS                                               SCHEDULE               ADDITIONS   DELETIONS                AMOUNT
Real Property
Buildings
 Accumulated Depreciation
 Net Buildings
Equipment
 Accumulated Depreciation
 Net Equipment
Autos/Vehicles
 Accumulated Depreciation
 Net Autos/Vehicles

Provide a description of fixed assets added or deleted during the reporting period; include the date of Court order:




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                                                              STATUS OF LIABILITIES
                                                              AND SENSITIVE PAYMENTS                                           N/A
 *Information provided on this page should reconcile with balance sheet and disbursement detail amounts

POST-PETITION LIABILITIES                       Total            0-30 Days           31-60 Days           61-90 Days     91+ Days
 Accounts Payable *
 Taxes Payable
 Notes Payable
 Professional Fees Payable
 Secured Debt
 Other (attach list)


Total Post-Petition Liabilities
*DEBTOR MUST ATTACH AN AGED ACCOUNTS PAYABLE LISTING


             PAYMENTS TO INSIDERS AND PROFESSIONALS

                                                          Insiders
                                                                                  Amount Paid this
                Name                            Reason for Payment                    Month        Total Paid to Date




Total Payments to Insiders



                                                     Professionals
                                           Date of Court
                                              Order
                                            Authorizing       Amount              Amount Paid this
                Name                         Payment          Aproved                 Month        Total Paid to Date




Total Payments to Proffessionals

                                                           Page 8




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                                                    CASE STATUS
                                                  QUESTIONAIRE

                                                                                                           YES          NO
Have funds been disbursed from any accounts other than a Debtor-in-Possession account?                              X
Are any post-petition receivables (accounts, notes or loans) due from related parties?                              X
Are any wages past due?                                                                                             X
Are any U. S. Trustee quarterly fees delinquent?                                                                    X

Provide a detailed explaination of any "YES" answers to the above questions (attach additional sheets if needed).




  Current number of employees:


INSURANCE

                                                                                    Payment Amount
Carrier & Policy Number                    Type of Policy       Period Covered        & Frequency
St. Farm: 50-BH-4467-2                  Homeowners             9/29/16-9/29/17      $2126 annually
St. Farm: 03-E1-1316-8                  Personal Articles      7/28/17-7/28/18      $26.75 monthly
St. Farm: 032-5864-A01-50               Vehicle                6/22/17-1/1/18       $62.50 monthly
St. Farm: 014-1497-A01-03J              Vehicle                7/1/17-1/1/18        $16.47 monthly
St. Farm: 020-0610-B17-50C              Vehicle                7/24/17-2/171/8      $15.48 monthly

What steps have been taken to remedy the problems which brought on the chapter 11 filing?
We finalized the sale of our Cave Creek house. The closing date was September 20th.
We still have several projects underway in various stages of negotiation giving us the realistic
expectation of being able to pay all of our creditors


Identify any matters that are delaying the filing of a plan of reorganization:
Our plan of reorganization is still a 100% payment plan to all creditors.
We anticipate filing the plan of reorganization within the next 45 days.



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                                                  DISBURSEMENT DETAIL
                                                  CONTINUATION SHEET
PLEASE ATTACH COPIES OF BANK STATEMENTS
                                                                Month:
                                                              Account #

                                                          Bank Name


                                  CHECKS ISSUED
  Check
 Number      Date            Payee                  Purpose               Amount




TOTAL DISBURSEMENTS - THIS PAGE

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                              New Paradigm Mind Body Wellness
                                  Profit & Loss Statement
	                                For	the	Period	Nov	1,	2017	-	Nov	30,	2017														
                                      Case	Number:	2:17-bk-05021-PS	




    INCOME                                                            Current	      Year	To	Date        Total	Since	
                                                                      Month                                Filing

    Services                                                              809.78           2537            3346.78
    Merchandise	(books)                                                     31.84                             31.84
    Cash	from	closed	account                                                                 20.00            20.00
    Reimbursements                                                          34.78           255.41           290.19
    Rent	(from	sharing	oﬃce	space)                                        260.00                  780          1040

    Total	Income                                                       1136.40         3592.41           4728.81


    EXPENSES
    AccounMng
    Website	fees                                                                             25.19            25.19
    Business	meeMng	expense                                                                   25.5            25.50
    DistribuMons	(Draws)

    Internet	(Century	Link)                                                                  16.59            16.59
    Oﬃce/Class	Supplies	                                                     6.77            25.03            31.80
    Postage	and	PrinMng
    Power                                                                   58.35           254.69           313.04
    Rent	(lease	oﬃce	space	from	Schlotman’s)                              527.50              2110         2637.50
    Skype

    Travel                                                                                   425.9           425.90
    Services	hired/purchased	(for	misc	work,	training,	                     21.54           805.27           826.81
    courses,	training	books…)

    Other	(withdrew	remaining	balance	&	closed	account)                                      20.98            20.98

    Total	Expenses                                                        614.16           3709.15         4323.31

    PROFIT/LOSS                                                       +522.24          -116.74          +405.50



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page	2




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Case 2:17-bk-05021-PS   Doc 118 Filed 12/12/17 Entered 12/12/17 08:35:44   Desc
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                                 Eric Bischoff Entertainment, LLC
                                     Profit & Loss Statement
	                                  For	the	Period	Nov	1,	2017	-	Nov.30,	2017														
                                        Case	Number:	2:17-bk-05021-PS	
a	


    INCOME                                                              Current	      Year	To	Date	     Total		
                                                                        Month                          New	YTD	

    Services                                                             12,300         43,591.75      55,891.75
    Other	Income	(merchandise	sold/royalIes)                              71.40              1822.23     1893.63
    Reimbursements/Credits                                               500.00              2755.22     3255.22
    Funds	from	personal	checking	account                                                 950.00            950.00

    Total	Income                                                      12,871.40 49,119.20              61990.60

    EXPENSES
    AccounIng
    ATorneys                                                                                  932.00       932.00
    Bank	Charges                                                                               73.00        73.00
    Dept.	of	Workforce	Services	(WY)

    DistribuIons	(Draws)                                                       9000           38,500       47,500
    Franchise	Tax	Board	(CA	Tax	Payments)                                                    1355.00     1355.00
    Internet	(when	traveling)                                                                  49.95        49.95
    Oﬃce	(Supplies.misc)	                                                                     254.47       254.47
    Postage	and	PrinIng                                                        5.77            63.12        68.89
    Phone/Mobil/Fax	                                                         372.04           2984.1     3356.14
    Skype
    Transfer	funds	to	open	new	personal	DIP	account                                            25.00        25.00
    Travel	Expenses                                                        2005.54           2918.66     4924.20
    Website	(Domain	fees,	Repairs	and	Maintenance)                             6.99           584.28       591.27
    WY	Secretary	of	State                                                                      50.00        50.00
    Other	(loans,	credit	card)                                               500.00          1009.05     1509.05
    Other	(personal	expenses	pd	by	business)                                                  338.73       338.73

    Total	Expenses                                                      11,890.34       49,137.36      61,027.70

    Proﬁt/Loss                                                           +981.06             -18.16      962.90



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Wells Fargo Simple Business Checking
Account number:                  6828       ■   November 1, 2017 - November 30, 2017                  ■   Page 1 of 4




                                                                                                           Questions?
LOREE E BISCHOFF                                                                                           Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay Services calls accepted
DBA LOREE BISCHOFF NEW PARADIGM
DEBTOR IN POSSESSION                                                                                         1-800-CALL-WELLS               (1-800-225-5935)

CH 11 CASE #17-05021 (AZ)                                                                                    TTY: 1-800-877-4833
PO BOX 1195                                                                                                  En español: 1-877-337-7454
CODY WY 82414-1195                                                                                         Online: wellsfargo.com/biz

                                                                                                           Write: Wells Fargo Bank, N.A. (038)
                                                                                                                   P.O. Box 6995
                                                                                                                   Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                             Account options
 Cash flow is a key indicator of the financial health of your business. Find tips and                      A check mark in the box indicates you have these convenient
                                                                                                           services with your account(s). Go to wellsfargo.com/biz or
 strategies for effective cash flow management at wellsfargoworks.com.
                                                                                                           call the number above if you have questions or if you would
                                                                                                           like to add new services.

                                                                                                           Business Online Banking                              ✓
                                                                                                           Online Statements                                    ✓
                                                                                                           Business Bill Pay
                                                                                                           Business Spending Report                             ✓
                                                                                                           Overdraft Protection




Activity summary                                                                                           Account number:             6828
       Beginning balance on 11/1                                        $188.36                            LOREE E BISCHOFF
                                                                                                           DBA LOREE BISCHOFF NEW PARADIGM
       Deposits/Credits                                                 1,136.40
                                                                                                           DEBTOR IN POSSESSION
       Withdrawals/Debits                                               - 614.16
                                                                                                           CH 11 CASE #17-05021 (AZ)
       Ending balance on 11/30                                          $710.60                            Arizona account terms and conditions apply
                                                                                                           For Direct Deposit use
       Average ledger balance this period                               $724.37                            Routing Number (RTN): 122105278
                                                                                                           For Wire Transfers use
                                                                                                           Routing Number (RTN): 121000248


Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




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      Sheet 00001 of 00002
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Transaction history

                         Check                                                                                    Deposits/       Withdrawals/           Ending daily
       Date             Number Description                                                                          Credits              Debits              balance
       11/2                    Sw Institute H A Payroll 171102 Bischoff, Loree                                        4.78
       11/2                    Sw Institute H A Payroll 171102 Bischoff, Loree                                      115.00                                       308.14
       11/3                    Transfer From Florit Vivian on 11/03 Ref # Pp03x62C72 Nov Rent                       260.00
       11/3                    Purchase authorized on 11/03 Frys Food 4815 Carefre Cave Creek                                                 6.77               561.37
                               AZ P00000000970967678 Card 4174
       11/10                   Purchase authorized on 11/10 Life Book 800-460-3255 IL                                                         1.00               560.37
                               S307313544373564 Card 4174
       11/14                   APS Electric Pmt Payment 171109 3242200000 Loree Bischoff                                                     58.35               502.02
       11/15                   Purchase authorized on 11/15 Southwest Inst. of Hea Tempe AZ                                                  20.54               481.48
                               P00387320021457638 Card 4174
       11/16                   Sw Institute H A Payroll 171116 Bischoff, Loree                                      464.78                                     946.26
       11/27                   Transfer From Florit Vivian Ref # Pp03Z4Fs9R APS Bill                                 30.00                                     976.26
       11/29                   Edeposit IN Branch/Store 11/29/17 03:01:52 Pm 1825 17th St                            31.84                                   1,008.10
                               Cody WY 4174
       11/30                   Sw Institute H A Payroll 171130 Bischoff, Loree                                      230.00
       11/30                   Bill Pay Mike and Cheryl on-Line Unit 6 on 11-30                                                          527.50                  710.60
       Ending balance on 11/30                                                                                                                                   710.60
       Totals                                                                                                  $1,136.40               $614.16

       The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.


Monthly service fee summary

For a complete list of fees and detailed account information, see the Wells Fargo Account Fee and Information Schedule and Account Agreement applicable to
your account (EasyPay Card Terms and Conditions for prepaid cards) or talk to a banker. Go to wellsfargo.com/feefaq for a link to these documents, and answers
to common monthly service fee questions.


       Fee period 11/01/2017 - 11/30/2017                                                Standard monthly service fee $10.00                   You paid $0.00

       How to avoid the monthly service fee                                                                Minimum required                    This fee period
       Have any ONE of the following account requirements
         · Average ledger balance                                                                                      $500.00                        $724.00     ✔

       C1/C1




Account transaction fees summary
                                                                                         Units           Excess        Service charge per                Total service
       Service charge description                                 Units used         included             units           excess units ($)                 charge ($)
       Cash Deposited ($)                                                  0            3,000                 0                   0.0030                         0.00
       Transactions                                                        8               50                 0                      0.50                        0.00
       Total service charges                                                                                                                                      $0.00




        IMPORTANT ACCOUNT INFORMATION

Reminder about effect of pending debit card transactions on your account




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For each debit card transaction, we place an authorization hold and track the "pending" transaction until the merchant sends the final
payment instruction to the bank. We receive final payment instructions for most transactions within one to two business days, but we
generally must release the authorization hold after three business days. While pending, these transactions reduce your available
balance. If transactions are presented for payment when your account has an insufficient available balance, you may be charged
overdraft and/or insufficient fund (NSF) fees on those transactions. The bank will assess no more than eight (8) $35 overdraft and/or
NSF fees per day.




New limits on Fees

Effective November 6, 2017, we will waive overdraft or returned item (Non-Sufficient Fund/NSF) fees on any transactions that are $5 or
less, regardless of your ending account balance. We will continue to waive overdraft fees on all posted transactions if both your ending
daily account balance and your available balance are overdrawn by $5 or less and there are no items returned for non-sufficient funds
after all transactions have posted.




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General statement policies for Wells Fargo Bank

■  Notice: Wells Fargo Bank, N.A. may furnish information about accounts                      You must describe the specific information that is inaccurate or in dispute
belonging to individuals, including sole proprietorships, to consumer                         and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the                 information that relates to an identity theft, you will need to provide us with
accuracy of information that we have reported by writing to us at: Overdraft                  an identity theft report.
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.



Account Balance Calculation Worksheet                                                             Number                    Items Outstanding                       Amount

1. Use the following worksheet to calculate your overall account balance.
2. Go through your register and mark each check, withdrawal, ATM
   transaction, payment, deposit or other credit listed on your statement.
   Be sure that your register shows any interest paid into your account and
   any service charges, automatic payments or ATM transactions withdrawn
   from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
   outstanding checks, ATM withdrawals, ATM payments or any other
   withdrawals (including any from previous months) which are listed in
   your register but not shown on your statement.

ENTER
A. The ending balance
   shown on your statement . . . . . . . . . . . . . . . . . . . . . .$.

ADD
B. Any deposits listed in your                                                $
   register or transfers into                                                 $
   your account which are not                                                 $
   shown on your statement.                                                 + $

    . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . TOTAL
                                                                             .. .$

CALCULATE THE SUBTOTAL
  (Add Parts A and B)

    . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . TOTAL
                                                                             .. .$

SUBTRACT
C. The total outstanding checks and
   withdrawals from the chart above . . . . . . . . . . . . . - $

CALCULATE THE ENDING BALANCE
  (Part A + Part B - Part C)
  This amount should be the same
  as the current balance shown in
  your check register . . . . . . . . . . . . . . . . . . . . . . . . . $. .


                                                                                                                                              Total amount $




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                               ®
Wells Fargo Preferred Checking
Account number:                 6794     ■   November 1, 2017 - November 30, 2017                ■   Page 1 of 6




                                                                                                      Questions?
LOREE E BISCHOFF                                                                                      Available by phone 24 hours a day, 7 days a week:
                                                                                                      Telecommunications Relay Services calls accepted
ERIC BISCHOFF
DEBTOR IN POSSESSION                                                                                    1-800-TO-WELLS             (1-800-869-3557)

CH 11 CASE #17-05021 (AZ)                                                                               TTY: 1-800-877-4833
PO BOX 1195                                                                                             En español: 1-877-727-2932
CODY WY 82414-1195                                                                                            1-800-288-2288 (6 am to 7 pm PT, M-F)

                                                                                                      Online: wellsfargo.com

                                                                                                      Write: Wells Fargo Bank, N.A. (038)
                                                                                                              P.O. Box 6995
                                                                                                              Portland, OR 97228-6995




 You and Wells Fargo                                                                                  Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                         A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                       convenient services with your account(s). Go to
                                                                                                      wellsfargo.com or call the number above if you have
                                                                                                      questions or if you would like to add new services.

                                                                                                      Online Banking           ✓    Direct Deposit
                                                                                                      Online Bill Pay               Auto Transfer/Payment
                                                                                                      Online Statements        ✓    Overdraft Protection
                                                                                                      Mobile Banking                Debit Card
                                                                                                      My Spending Report       ✓    Overdraft Service




        IMPORTANT ACCOUNT INFORMATION

Introducing Overdraft Rewind Starting November 7, 2017

With this free account feature, the Bank will reevaluate transactions from the previous business day that resulted in an overdraft or
returned item (non-sufficient funds/NSF) if we receive an electronic direct deposit to your account by 9:00 a.m. local time where your
account is located (which is noted on your account statement). Direct deposits include your salary, pension, Social Security, or other
regular monthly income electronically deposited through the Automated Clearing House (ACH) network by your employer or an
outside agency. The Bank will calculate a new balance, including your pending electronic direct deposit (less any pending debits), and
may reverse the overdraft or returned item decisions and waive the associated fees from the previous business day if your electronic
direct deposit will cover them. Overdraft Protection transfers/advances and the associated fees from the prior business day are not
reversed with Overdraft Rewind. Other deposits, such as check(s), cash, or account transfers are not included in Overdraft Rewind.

Set up direct deposit for a safe and easy way to have your payroll or benefit checks automatically deposited into your account.

Go to wellsfargo.com/checking/overdraft-rewind for more details.




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Activity summary                                                                                           Account number:             6794
       Beginning balance on 11/1                                      $4,881.49                            LOREE E BISCHOFF
       Deposits/Additions                                               9,198.02                           ERIC BISCHOFF
                                                                                                           DEBTOR IN POSSESSION
       Withdrawals/Subtractions                                      - 13,041.85
                                                                                                           CH 11 CASE #17-05021 (AZ)
       Ending balance on 11/30                                        $1,037.66                            Arizona account terms and conditions apply
                                                                                                           For Direct Deposit use
                                                                                                           Routing Number (RTN): 122105278



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




Interest summary
       Interest paid this statement                                        $0.02
       Average collected balance                                      $1,407.39
       Annual percentage yield earned                                     0.02%
       Interest earned this statement period                               $0.02
       Interest paid this year                                             $0.08




Transaction history

                          Check                                                                                     Deposits/         Withdrawals/          Ending daily
       Date              Number Description                                                                         Additions         Subtractions              balance
       11/1                     Installment Loan Acct Payment                                                                             1,172.97
       11/1                     Purchase authorized on 11/01 USPS PO 03639200 44047 N                                                         7.63
                                Phoenix AZ P00387305798280240 Card 9276
       11/1                     Purchase authorized on 11/01 Frys Food 39508 Daisy Phoenix AZ                                                 18.98
                                P00000000179560158 Card 9276
       11/1                     Purchase authorized on 11/01 Good to Go Stor Cody WY                                                          49.34
                                P00000000074781701 Card 9284
       11/1                     Purchase authorized on 11/01 Walgreens Store 1585 Sher Cody                                                   24.78             3,607.79
                                WY P00307306034082113 Card 9284
       11/2                     WF Home Mtg Auto Pay 110117 0024216046 Loree Bischoff                                                      3,015.63              592.16
       11/3                     Recurring Payment authorized on 11/02 Netflix.Com Netflix.Com                                                 18.38
                                CA S467306560523206 Card 9276
       11/3                     Purchase authorized on 11/03 Shell Service Station Cave Creek                                                 38.34
                                AZ P00307307746932450 Card 9276
       11/3                     Purchase authorized on 11/03 Walgreens Store 34402 N S                                                        41.46              493.98
                                Scottsdale AZ P00307307814429180 Card 9276
       11/6                     Installment Loan Acct Payment                                                                              1,172.97
       11/6                     Online Transfer From Eric Bischoff Entertainment LLC Ref                             6,000.00
                                #Ib03Xcwrkt Business Checking Cash Distribution
       11/6                     Recurring Payment authorized on 11/03 Hlu*Hulu 43730192-                                                       7.99
                                Hulu.Com/Bill CA S307307221834344 Card 9276
       11/6                     Purchase authorized on 11/04 Sally Beauty 103 32531 N                                                         22.75
                                Scottsdale AZ P00467308764424956 Card 9276
       11/6                     Recurring Payment authorized on 11/05 Thehealthybackinst                                                      49.95             5,240.32
                                Customercare@ TX S307309001256307 Card 9276
       11/7                     Purchase authorized on 11/07 Sprouts Farmers Mkt#17 Phoenix                                                   95.26
                                AZ P00387311715735255 Card 9276
       11/7                     WF Home Mtg Auto Pay 110617 0024216046 Loree Bischoff                                                      3,015.63             2,129.43
       11/8                     Purchase authorized on 11/07 Lora Moon Styling Scottsdale AZ                                                 175.00             1,954.43
                                S387311659368353 Card 9276




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Transaction history (continued)

                           Check                                                                            Deposits/   Withdrawals/     Ending daily
     Date                 Number Description                                                                Additions   Subtractions         balance
     11/9                        Recurring Payment authorized on 11/08 Dsc*Dollar Shave C                                       9.00
                                 866-2232780 CA S307312219618073 Card 9276
     11/9                        Purchase authorized on 11/09 Shell Service Station Scottsdale AZ                             44.94
                                 P00387313762266741 Card 9276
     11/9                        Bill Pay Northwest Rural on-Line xxxx20632 on 11-09                                          28.80
     11/9                        Bill Pay Northwest Rural on-Line xxxx15411 on 11-09                                          28.80
     11/9                        Bill Pay Tct West on-Line xxxx54548 on 11-09                                                 53.00
     11/9                        Bill Pay Northwest Rural on-Line xxxx18951 on 11-09                                          64.00
     11/9                        Bill Pay Bragg Plumbing & on-Line xx02739 on 11-09                                           75.00           1,650.89
     11/10                       Purchase authorized on 11/09 Sq *Poor Little RI Phoenix AZ                                   56.47
                                 S467313790913531 Card 9276
     11/10                       Purchase authorized on 11/09 Hay House 800-654-5126 CA                                       27.78
                                 S587313819602366 Card 9276
     11/10                       ATM Withdrawal authorized on 11/10 Christown Phoenix AZ                                     100.00           1,466.64
                                 0001037 ATM ID 4469Y Card 9276
     11/13                       Purchase authorized on 11/12 Conoco - Conomart Laurel MT                                     86.78
                                 S467316747211918 Card 9284
     11/13                       Purchase authorized on 11/13 Wal-Mart Super Center Cody WY                                   18.14
                                 P00000000532165154 Card 9284
     11/13                       Purchase authorized on 11/13 Autozone 6278 610 Yellow Cody                                   90.77           1,270.95
                                 WY P00387317771126073 Card 9284
     11/14                       Money Transfer authorized on 11/14 From Square Cash CA                       198.00
                                 S00587318671841377 Card 9284
     11/14                       Purchase authorized on 11/12 Cody Country Bed A Cody WY                                     586.00
                                 S307316817086337 Card 9284
     11/14                       Purchase authorized on 11/13 MH Health Foods Cody WY                                         40.15
                                 S387317762992547 Card 9284
     11/14                       State Farm Ro 27 Sfpp 24 S 0197155127 Eric Bischoff                                          87.64
     11/14                       State Farm Ro 27 Sfpp 20 S 0392102620 Eric Bischoff                                         179.91            575.25
     11/16                       Recurring Payment authorized on 11/15 USPS PO Boxes Onli                                     27.00
                                 800-344-7779 DC S307319381512212 Card 9276
     11/16                       Purchase authorized on 11/15 Cody Pet Depot Cody WY                                          80.10
                                 S587319863023385 Card 9284
     11/16                       Purchase authorized on 11/16 Tractor Supply C 1140 Eas                                       26.49
                                 Sheridan WY P00307320777705113 Card 9284
     11/16                       Purchase authorized on 11/16 Clarks Pharmacy Carefree AZ                                     44.95
                                 P00467320815815151 Card 9276
     11/16                       Purchase with Cash Back $ 40.00 authorized on 11/16 Wal-Mart                                 66.16            330.55
                                 Super Center Cave Creek AZ P00000000883108965 Card 9276
     11/17                       Online Transfer From Eric Bischoff Entertainment LLC Ref                    2,000.00
                                 #Ib03Yfz6Hf Business Checking Cash Distribution
     11/17                       Purchase authorized on 11/16 Maverik #344 Sheridan WY                                        63.04
                                 S387320779812945 Card 9284
     11/17                       Non-WF ATM Withdrawal authorized on 11/17 2030 Lazelle St                                   102.50
                                 Sturgis SD 00307321571546330 ATM ID Bc6134 Card 9284
     11/17                       Purchase authorized on 11/17 Dittys Kimball SD                                               57.65           2,107.36
                                 P00387321739061031 Card 9284
     11/20                       Purchase authorized on 11/17 Best Western Inn S Sundance WY                                 108.00
                                 S307320862149887 Card 9284
     11/20                       Purchase authorized on 11/16 Redenbaugh's Inc Sundance WY                                    30.25
                                 S307321065445190 Card 9284
     11/20                       Purchase authorized on 11/16 Cowgirl Pizza Sundance WY                                       22.68
                                 S587321116006207 Card 9284
     11/20                       Purchase authorized on 11/17 Cenex Cbh Coop0706 Sturgis SD                                   44.20
                                 S467321570157655 Card 9284
     11/20                       Purchase authorized on 11/18 Peoples Organic MT Minnetonka                                   40.26
                                 MN S387322674759025 Card 9276
     11/20                       Purchase authorized on 11/18 Brines Bar & Resta Stillwater MN                                87.55
                                 S307322791335707 Card 9276
     11/20                       Purchase with Cash Back $ 30.00 authorized on 11/19 Target T-                                44.63
                                 4848 County Minnetonka MN P00000000077212374 Card 9284




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Transaction history (continued)

                   Check                                                                           Deposits/   Withdrawals/     Ending daily
     Date         Number Description                                                               Additions   Subtractions         balance
     11/20               Purchase authorized on 11/19 Lakewinds - Min Minnetonka MN                                  118.54
                         P00000000882715639 Card 9276
     11/20               Purchase authorized on 11/19 Sq *Parley Lake WI Waconia MN                                  22.00
                         S307323823830003 Card 9284
     11/20               Purchase authorized on 11/20 Kowalski's Excelsior Mar Excelsior                             47.14
                         MN P00467324618414057 Card 9284
     11/20               Purchase authorized on 11/20 Cub Foods Minnetonka MN                                          7.09          1,535.02
                         P00587324643884685 Card 9284
     11/21               Purchase authorized on 11/20 Frattallones Minne Minnetonka                                  20.62
                         MN S387324718449997 Card 9284
     11/21               Purchase authorized on 11/20 Mgm Liquor Warehou Minnetonka                                  14.29
                         MN S307324762805248 Card 9276
     11/21               Purchase authorized on 11/21 Oreilly Auto #3 Minnetonka MN                                  25.78           1,474.33
                         P00000000883627945 Card 9284
     11/22               Purchase authorized on 11/21 Peoples Organic MT Minnetonka                                  63.88
                         MN S587325006601735 Card 9284
     11/22               Purchase with Cash Back $ 20.00 authorized on 11/22 Lakewinds                               59.61
                         - Min Minnetonka MN P00000000737748271 Card 9276
     11/22               Purchase authorized on 11/22 Mills Fleet Farm 3100 Circle Pines                            158.50           1,192.34
                         MN P00467326704057828 Card 9284
     11/24               Purchase authorized on 11/21 Northgate Liquors Blaine MN                                    22.97
                         S587325713100794 Card 9276
     11/24               Purchase authorized on 11/22 Tonka Bottle Shop Wayzata MN                                   45.10
                         S467326863845715 Card 9284
     11/24               Purchase authorized on 11/22 Bp#9267642Koehnens                                             81.41
                         Minnetonka MN S387327004193932 Card 9284
     11/24               Purchase authorized on 11/23 Glenn's Minnoco Minnetonka MN                                  15.02           1,027.84
                         S587327643215691 Card 9276
     11/27               Purchase authorized on 11/22 Mandarin Yang Wayzata MN                                       38.42
                         S587326860035928 Card 9276
     11/27               Purchase authorized on 11/24 Sq *DBA AS Natasha Plymouth MN                                 12.00
                         S587328787297756 Card 9276
     11/27               Purchase authorized on 11/24 Sq *Hepp's Salt CO Excelsior MN                                10.00
                         S587328790306708 Card 9276
     11/27               Purchase authorized on 11/24 Lago Tacos Excelsior MN                                        23.84
                         S387328815344557 Card 9276
     11/27               Purchase authorized on 11/24 1919 Dominos Pizza 631-289-3000                                25.66
                         MN S467329075916571 Card 9276
     11/27               Purchase authorized on 11/25 Tonka Bottle Shop Wayzata MN                                   21.43
                         S587329689184267 Card 9276
     11/27               Purchase authorized on 11/26 Ikes Food Cocktai Minnetonka MN                                71.79            824.70
                         S307330788348645 Card 9284
     11/28               Purchase authorized on 11/26 Wash Systems Minneapolis MN                                    35.48
                         S467330681814491 Card 9284
     11/28               Purchase authorized on 11/26 Sushi Fix Wayzata MN                                          141.73
                         S467331014647378 Card 9276
     11/28               Purchase authorized on 11/27 Sanfords Grub & Pu Dickinson ND                                57.84
                         S387332089364822 Card 9284
     11/28               Vivint Vivint P-48782276 Loree Bischoff                                                     63.99            525.66
     11/29               Online Transfer From Eric Bischoff Entertainment LLC Ref                   1,000.00
                         #Ib03Zblksl Business Checking Cash Distribution
     11/29               Purchase authorized on 11/27 Peoples Organic MT Minnetonka                                  38.26
                         MN S307331558381538 Card 9276
     11/29               Purchase authorized on 11/27 Cenex Farmers 0707 Barnesville                                 90.71
                         MN S387331684688459 Card 9284
     11/29               Purchase authorized on 11/27 Subway 0338 Bamesville MN                                        6.39
                         S467331692935176 Card 9284
     11/29               Purchase authorized on 11/28 Conoco - Conomart Laurel MT                                    88.68
                         S467332738887822 Card 9284
     11/29               Purchase authorized on 11/29 Albertsons Store 2061 Cody WY                                  44.65
                         P00000000372274551 Card 9276
     11/29               Bill Pay Keele Sanitation Recurringxxxxxxxxxxumber on 11-29                                 31.50           1,225.47




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Transaction history (continued)

                            Check                                                                               Deposits/         Withdrawals/         Ending daily
       Date                Number Description                                                                   Additions         Subtractions             balance
       11/30                      Purchase authorized on 11/29 Amazon.Com Amzn.CO                                                        31.25
                                  Amzn.Com/Bill WA S467330435044287 Card 9276
       11/30                      Purchase authorized on 11/28 Holiday Inn Expres Dickinson ND                                          156.58
                                  S307331858768859 Card 9284
       11/30                      Interest Payment                                                                   0.02                                 1,037.66
       Ending balance on 11/30                                                                                                                            1,037.66
       Totals                                                                                                  $9,198.02           $13,041.85

       The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.


Monthly service fee summary

For a complete list of fees and detailed account information, see the Wells Fargo Account Fee and Information Schedule and Account Agreement applicable to
your account (EasyPay Card Terms and Conditions for prepaid cards) or talk to a banker. Go to wellsfargo.com/feefaq for a link to these documents, and answers
to common monthly service fee questions.


       Fee period 11/01/2017 - 11/30/2017                                                Standard monthly service fee $15.00                You paid $0.00

       How to avoid the monthly service fee                                                                Minimum required                 This fee period
       Have any ONE of the following account requirements
         · Total amount of qualifying direct deposits                                                               $1,000.00                         $0.00
         · Linked Wells Fargo home mortgage                                                                                 1                             1     ✔

         · Combined balances in linked accounts, which may include                                                 $10,000.00                    $14,170.39     ✔

           - Minimum daily balance in checking, savings, time accounts (CDs) and
             FDIC-insured retirement accounts
       JD/JD




        IMPORTANT ACCOUNT INFORMATION

New limits on Fees

Effective November 6, 2017, we will waive overdraft or returned item (Non-Sufficient Fund/NSF) fees on any transactions that are $5 or
less, regardless of your ending account balance. We will continue to waive overdraft fees on all posted transactions if both your ending
daily account balance and your available balance are overdrawn by $5 or less and there are no items returned for non-sufficient funds
after all transactions have posted.




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Worksheet to balance your account                                         General statement policies for Wells Fargo Bank
Follow the steps below to reconcile your statement balance with your      ■    To dispute or report inaccuracies in information we have furnished to a
account register balance. Be sure that your register shows any interest        Consumer Reporting Agency about your accounts. You have the right to
paid into your account and any service charges, automatic payments or          dispute the accuracy of information that Wells Fargo Bank, N.A. has
ATM transactions withdrawn from your account during this statement             furnished to a consumer reporting agency by writing to us at Overdraft
period.                                                                        Collection and Recovery, P.O. Box 5058, Portland, OR 97208-5058. Please
A Enter the ending balance on this statement.             $                    describe the specific information that is inaccurate or in dispute and the
                                                                               basis for the dispute along with supporting documentation. If you believe
 B List outstanding deposits and other                                         the information furnished is the result of identity theft, please provide us
credits to your account that do not appear on                                  with an identity theft report.
this statement. Enter the total in the column
                                                                          ■    In case of errors or questions about your electronic transfers,
to the right.                                                                  telephone us at the number printed on the front of this statement or write
                                                                               us at Wells Fargo Bank, P.O. Box 6995, Portland, OR 97228-6995 as soon as
Description                     Amount
                                                                               you can, if you think your statement or receipt is wrong or if you need more
                                                                               information about a transfer on the statement or receipt. We must hear
                                                                               from you no later than 60 days after we sent you the FIRST statement on
                                                                               which the error or problem appeared.
                                                                               1. Tell us your name and account number (if any).
                                                                               2. Describe the error or the transfer you are unsure about, and explain as
                                                                                  clearly as you can why you believe it is an error or why you need more
                   Total   $                           + $
                                                                                  information.
                                                                               3. Tell us the dollar amount of the suspected error.
C Add A and B to calculate the subtotal.               = $
                                                                               We will investigate your complaint and will correct any error promptly. If
 D List outstanding checks, withdrawals, and                                   we take more than 10 business days to do this, we will credit your account
other debits to your account that do not appear                                for the amount you think is in error, so that you will have the use of the
on this statement. Enter the total in the column                               money during the time it takes us to complete our investigation.
to the right.

Number/Description              Amount




                   Total   $                           -   $

 E Subtract D from C to calculate the
adjusted ending balance. This amount should be
the same as the current balance shown in your
register.                                              = $                                                                   . NMLSR ID 399801
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